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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 OX LABS INC.                                                       2:18−cv−05934−MWF−KS
                                                  Plaintiff(s),

          v.
 BITPAY, INC., et al.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         8/22/2018
 Document Number(s):                 7
 Title of Document(s):              Summons
 ERROR(S) WITH DOCUMENT:

 Corporate Disclosure Statement , Notice of Interested Parties and Civil Cover Sheet should have been filed
 separately and not as attachments to the Summons.




 Other:

 Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
 notice unless and until the Court directs you to do so.


                                                  Clerk, U.S. District Court

 Dated: August 23, 2018                           By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                     Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.


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